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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS


FREIGHTCAR AMERICA, INC., a                  )
Delaware corporation,                        )
                                             )
              Plaintiff,                     )
                                             )     Case No. 1:20-CV-07202
       v.                                    )
                                             )
DAVIS-FROST, INC., a Minnesota               )
corporation,                                 )
                                             )
              Defendant.                     )

        DEFENDANT DAVIS-FROST, INC.’S MOTION TO DISMISS
   THE COMPLAINT FILED BY PLAINTIFF FREIGHTCAR AMERICA, INC.

       Defendant Davis-Frost, Inc. (“Davis-Frost”) moves to dismiss FreightCar

America, Inc.’s (“FCA”) Complaint pursuant to Rule 12(b)(2) of the Federal Rules of

Civil Procedure. Davis-Frost does not have connections with the state of Illinois

sufficient to permit this Court to exercise personal jurisdiction over it. In the alternative,

Davis-Frost asks the Court to transfer this lawsuit to the Western District of Virginia

pursuant to the forum-selection clause in the written warranty. Accordingly, Davis-Frost

requests that the Court dismiss FCA’s Complaint with prejudice, or alternatively, transfer

to the Western District of Virginia.
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         Dated: February 12, 2021   LATHROP GPM LLP

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